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                     EXHIBIT 24A
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               BP CORPORATION NORTH AMERICA INC. GUARANTEE

1.      Guarantee of Obligations. For good and valuable consideration received, the receipt
and sufficiency of which are hereby acknowledged, BP Corporation North America Inc., a
corporation organized under the laws of Indiana (the “First Guarantor”), subject to the terms
and conditions herein, hereby absolutely, irrecoverably, and unconditionally guarantees the
Economic and Property Damages Settlement Class (the “Beneficiary”), by and through (i) the
Claims Administrator, or (ii) Stephen J. Herman and/or James Parkerson Roy, or their
successors, acting as Economic and Property Damages Class Settlement Counsel (“Lead Class
Counsel”), that BP Exploration and Production Inc. and BP America Production Company
(collectively, the “Primary Obligors”) will duly and punctually pay all of the Primary Obligors’
payment obligations (the “Obligations”) under that certain Deepwater Horizon Economic and
Property Damages Settlement Agreement to be dated on or around April 18, 2012 (the
“Agreement”), as and when required in accordance with the terms thereof, in each case, without
regard to whether such obligation is direct or indirect, contingent or otherwise, now or hereafter
existing or owing, or incurred or payable before or after commencement of any proceedings by
or against the Primary Obligors under any applicable bankruptcy or insolvency law or similar
law or proceeding. This guarantee (the “Guarantee”) is given in accordance with Section 37 of
the Agreement. For purposes of this Guarantee, all capitalized terms not otherwise defined
herein shall have the meaning ascribed to such term in the Agreement.

2.      Event of Default of Primary Obligors. The Primary Obligors shall be deemed in
default solely after the occurrence of all of the following events (“Default”):

       (a)   The Primary Obligors have failed to pay an Obligation within the period allowed
by the Agreement.

       (b)     The Claims Administrator or Lead Class Counsel issues a Demand (defined in
Clause (b)) to the Primary Obligors and the First Guarantor alleging that the Primary Obligors
have not paid their Obligations within the period allowed by the greement

        (c)     The Primary Obligors do not cure the alleged breach within five ( ) business days
after receipt of the Demand

       (d)     The Claims Administrator or Lead Class Counsel shall concurrently notify the
Court (presiding judge or magistrate of the division of the District Court for the Eastern District
of Louisiana having oversight of the Agreement) of the alleged breach, and First Guarantor shall
not oppose expedited consultation and or mediation of the dispute

       (e)     The Court informally consults regarding and or mediates the dispute

       (f)      The Primary Obligors fail to take curative action within the greater of (i) two
business days after the conclusion of the consultation and/or mediation with the Court, or (ii) the
balance of the time period specified in Clause 2(c).

3.    Obligation of First Guarantor. If and only if the Primary Obligors are in Default and
such Default has not been cured and is continuing, then First Guarantor must pay or procure the


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payment of the applicable overdue and unpaid Obligations of the Primary Obligors within the
greater of (i) 15 days from receipt of the Demand or (ii) five business days after the
determination of a Default as specified in Clauses 2(a) – (f).

4.      Joint and Several Obligation. The First Guarantor’s obligations under this Guarantee
are contingent upon the occurrence and continuation of a Default by the Primary Obligors. Upon
and after the occurrence, and during the continuance, of a Default, (a) this Guarantee shall be a
guarantee of payment, and not of collection, of the applicable overdue and unpaid Obligations;
(b) the First Guarantor’s obligations hereunder shall be on a “joint and several” basis with the
Primary Obligors to the same degree and extent as if the First Guarantor had been a co-principal
obligor of the applicable unpaid Obligations, and (c) a separate action or actions may be brought
and prosecuted against the First Guarantor to enforce this Guarantee, irrespective of whether any
action is brought upon the Primary Obligors or whether any Primary Obligor is joined in any
such action or actions.

5.      Duration. The obligations of the First Guarantor set forth herein constitute the full
recourse obligations of the First Guarantor enforceable against it to the full extent of all its assets
and properties and shall remain in full force and effect until the earlier of (i) such time as all the
Obligations of the Primary Obligors under the Agreement have been performed in full and so
declared by Court order, or (ii) such time as the Agreement terminates or becomes null and void
for any of the reasons set out in Section 21 of the Agreement.

6.      Waiver of Defenses. The obligations of the First Guarantor hereunder shall not be
subject to any counterclaim, setoff, deduction, diminution, abatement, stay, recoupment,
suspension, deferment, reduction or defense (other than full and strict payment or other
satisfaction of the Obligations) based upon any claim the First Guarantor may have against the
Beneficiary or any other obligor. Subject to Clause 5, the obligations of the First Guarantor
hereunder shall remain in full force and effect without regard to, and shall not be released,
discharged or reduced (except to the extent of any defenses to payment or performance to which
the Primary Obligors are entitled under the Agreement) for any reason, including (a) any
amendment or waiver of any term of the Agreement, whether or not the Beneficiary, Primary
Obligors, or the First Guarantor has notice or knowledge of any of the foregoing; or (b) any
bankruptcy, insolvency or similar proceeding with respect to the First Guarantor or Primary
Obligors or their respective properties, or any action taken by any trustee or receiver or by any
court in any such proceeding. The First Guarantor also waives any right to demand arbitration or
mediation, and any right to a jury trial. The obligations of the First Guarantor hereunder shall be
subject to, and the First Guarantor shall be entitled to assert, any counterclaim, setoff, deduction,
or defense that the Primary Obligors could assert against the Beneficiary under the Agreement.

7.     Waiver of Notice. Except as set forth in this Guarantee, the First Guarantor
unconditionally waives all notices which may be required by statute, rule of law or otherwise to
preserve any rights against the First Guarantor hereunder, including (a) notice of the acceptance
of this Guarantee by the Beneficiary or any assignee thereof, or the modification of the
Obligations or notice of any other matters relating thereto; (b) any presentment, demand, notice
of dishonor, protest or nonpayment of any damages or other amounts payable under the
Agreement; (c) any requirement for the enforcement, assertion or exercise of any right or remedy
under the Agreement; (d) any requirement of diligence; (e) if the Primary Obligors are in


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Default, the right to require the Beneficiary to proceed against the Primary Obligors or any other
person liable on the Obligations, and the Guarantor waives the right to have the property of the
Primary Obligors first applied to discharge the Obligations.

8.      Subordination of Rights. The First Guarantor shall be subrogated to all rights of the
Beneficiary against the Primary Obligors in respect of any amounts paid by the First Guarantor
pursuant to the Guarantee, provided that the First Guarantor waives any rights it may acquire by
way of subrogation under this Guarantee, by any payment made hereunder or otherwise
(including, without limitation, any statutory rights of subrogation under Section 509 of the
Bankruptcy Code, 11 U.S.C. § 509, or otherwise), reimbursement, exoneration, contribution,
indemnification, or any right to participate in any claim or remedy of the Beneficiary against the
Primary Obligors or any collateral which the Beneficiary now has or acquires, until all of the
Obligations shall have been irrevocably and indefeasibly paid to the Beneficiary in full. If (a)
the First Guarantor shall make payment to the Beneficiary of all or any part of the Obligations,
and (b) all the Obligations shall have been indefeasibly paid in full, then the Beneficiary shall, at
the First Guarantor’s request, execute and deliver to the First Guarantor appropriate documents
necessary to evidence the transfer by subrogation to the First Guarantor of any interest in the
Obligations resulting from such payment of the First Guarantor. Any sums received by the First
Guarantor in violation of the foregoing shall be held in trust for the Beneficiary and shall be
promptly paid over to the Claims Administrator or Lead Class Counsel on behalf of the
Beneficiary without any need for further action of any kind by the Beneficiary, to be credited and
applied against the Obligations.

9.       Demands.

        (a)     This Guarantee may only be enforced by the Claims Administrator or Lead Class
Counsel on behalf of the Beneficiary and may not be enforced by any other Natural Person or
Entity, including, without limitation, any member of the Beneficiary.

       (b)     Any demand sent by the Claims Administrator or Lead Class Counsel to the First
Guarantor under this Guarantee shall be in writing and shall (i) state the reasons for making such
demand, and (ii) clearly identify the Obligations under the Agreement which the Primary
Obligors have failed to pay, and such notice shall be delivered or sent by email, facsimile, and
overnight mail to the First Guarantor at its address as provided under Clause 12(b) (“Demand”).

       (c)    All Demands to proceed under this Guarantee must be sent to the First Guarantor
by the Claims Administrator or Lead Class Counsel.

10.      Representations and Warranties.

       (a)     The First Guarantor is a corporation duly formed and validly existing under the
laws of the State of Indiana.

        (b)     The First Guarantor has the power and authority to execute, deliver and perform
its obligations under this Guarantee and has taken all necessary action to authorize the execution,
delivery and performance of this Guarantee. No consent is required for the due execution,
delivery, and performance by the First Guarantor of this Guarantee, except those that have been
obtained and are in full force and effect.

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         (c)    The authorization, execution, delivery and performance of this Guarantee by the
First Guarantor will not result in any breach of or default under (or any condition which with the
giving of notice or lapse of time or both would constitute a breach or default under) (i) the
constituent documents of the First Guarantor, or (ii) any contract, indenture, mortgage, security
agreement or other document, instrument or agreement or any judgment, order or decree or law,
rule, or regulation to which the First Guarantor is a party or to which the First Guarantor or any
of its property is subject.

11.     Sole Remedy. The First Guarantor’s obligations under this Guarantee are the sole and
exclusive remedy of the Beneficiary against the First Guarantor under the Agreement. The First
Guarantor’s entire obligation to the Beneficiary is the guarantee of the Obligations and the other
obligations expressly set forth in Clause 12 and the First Guarantor shall have no other
obligations of any kind to the Beneficiary. No person or entity, other than the Beneficiary acting
through the Claims Administrator or Lead Class Counsel, shall have any rights, remedies or
recourse to the First Guarantor under this Guarantee.

12.      Miscellaneous.

       (a)     The First Guarantor shall not assign any of its rights or delegate any of its duties
under this Guarantee to any person or entity without the prior written consent of the
Beneficiaries. This Guarantee shall be binding upon First Guarantor, its successors, and assigns,
and shall inure to the benefit of Beneficiary, its successors, and assigns.

        (b)    Any notice to the First Guarantor pursuant to this Guarantee shall be sent by
electronic mail, facsimile, and overnight mail to the following individuals, who are authorized to
receive all notices, demands, suits to perform, and all other correspondence arising out of the
Guarantee:

         John E. (Jack) Lynch Jr.                          James J. Neath
         Deputy Group General Counsel                      Associate General Counsel
         U.S. General Counsel                              BP America Inc.
         BP America Inc.                                   501 Westlake Park Boulevard
         501 Westlake Park Boulevard                       Houston, TX 77079
         Houston, TX 77079                                 Fax: 281-366-5901
         Fax: 713-375-2808                                 E-mail: James.Neath@bp.com
         E-mail: John.Lynch@uk.bp.com




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Any notice to Beneficiary pursuant to this Guarantee shall be sent by electronic mail, facsimile,
and overnight mail to the following individuals in their capacity as Lead Class Counsel:

       Stephen J. Herman                                 James Parkerson Roy
       Herman Herman Katz & Cotlar LLP                   Domengeaux Wright Roy & Edwards
       820 O’Keefe venue                                 LLC 556 Jefferson Street, Suite 500
       New Orleans, LA 70113                             Lafayette, LA 70501
       Fax: 504- - 02                                    Fax: 337-233-2796
       E-mail: sherman@hhkc.com                          E-Mail: jimr@wrightroy.com

Any notice to the Claims Administrator pursuant to this Guarantee shall be sent by electronic
mail, facsimile, and overnight mail to the following individual in his capacity as the Claims
Administrator:

       Patrick Juneau
       Juneau David, APLC
       Post Office Drawer 2 8
        afayette,     0 0 - 2 8
       Fax:     -2 -00
       E-mail: paj@juneaudavid.com
                fgg@juneaudavid.com

Whenever any notice is sent related to this Guarantee, such notice shall be sent to all of the
addressees listed in this Clause 12(b).

      (c)     This Guarantee shall not be amended without the written consent of the First
Guarantor and the Beneficiaries.

       (d)     The provisions of this Guarantee shall be deemed severable, and if any one or
more provisions of this Guarantee shall be determined to be invalid or unenforceable, all other
provisions shall, nevertheless, remain in full force and effect.

        (e)   If the First Guarantor has performed under this Guarantee, then within 30 days of
a written demand, the First Guarantor shall pay all reasonably incurred and properly documented
out-of-pocket costs, fees, and/or expenses incurred by the Claims Administrator and/or Lead
Class Counsel, including fees and disbursements of counsel, in connection with the pursuit of
performance under this Guarantee.

     (f)   THIS GUARANTEE SHALL BE GOVERNED IN ALL RESPECTS,
INCLUDING AS TO VALIDITY, INTERPRETATION AND EFFECT, BY THE LAWS OF
THE STATE OF NEW YORK, WITHOUT GIVING EFFECT TO ITS PRINCIPLES OR
RULES OF CONFLICT OF LAWS, TO THE EXTENT SUCH PRINCIPLES OR RULES ARE
NOT MANDATORILY APPLICABLE BY STATUTE AND WOULD PERMIT OR REQUIRE
THE APPLICATION OF THE LAWS OF ANOTHER JURISDICTION.



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        (g)     Pursuant to the Court’s continuing jurisdiction over the greement, the First
Guarantor, Beneficiary, Claims Administrator, and Lead Class Counsel agree that the United
States District Court for the Eastern District of Louisiana shall have exclusive jurisdiction and
venue to enforce, interpret, give effect to, or resolve any disputes, cases, or controversies
concerning this Guarantee. If MDL 2179 has not yet been terminated, any pleading filed on
behalf of any complainant party relating to the Guarantee shall be accompanied by a legal
request for such dispute, case, or controversy to be made part of MDL 2179. In all other respects
and purposes unrelated to matters involving the Guarantee or its enforcement, the First Guarantor
specifically reserves any and all defenses to the jurisdiction and venue of this Court. The
Beneficiary, Claims Administrator, and Lead Class Counsel agree that the First Guarantor’s
agreement in this Clause 12(g) does not constitute a waiver of jurisdictional defenses, consent to
jurisdiction, or an act supporting or sufficient to establish jurisdiction over the First Guarantor
for any matter besides disputes, cases, or controversies concerning this Guarantee.




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